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             EXHIBIT 22
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                                                                                                                 af statskassen | Penge | DR




I SKAT I KRISE
                           PENGE
                                                                                                                                     SE TEMA >



                  Tidligere skattedirektør i skud-
                  linjen: Godkendte månedsregn-
                  skaber, mens pengene fossede ud
                  af statskassen
                  Over 70 gange havde tidligere underdirektør i Skat svært ved at
                  huske i Skattekommissionen.




    René Frahm Jørgensen var underdirektør i Skat, mens der blev udbetalt milliarder til udenlandske pengemænd. I dag blev han
    afhørt i Retten i Frederiksberg. (Foto: Mads Claus Rasmussen © Scanpix)
                        LÆS OP                   ORDBOG                    TEKST

                  AF
                  Mathias Sommer
                  Jakob Ussing
https://www.dr.dk/nyheder/penge/tidligere-skattedirektoer-i-skudlinjen-godkendte-maanedsregnskaber-mens-pengene                                1/14
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                  30. APR 2019


                  - Det erindrer jeg ikke.
                  Over 70 gange havde René Frahm Jørgensen svært ved at genkalde sin tid
                  som underdirektør i Skat, da han i dag blev afhørt i fem timer af
                  Undersøgelseskommissionen om Skat, som er i færd med at gå i dybden med
                  danmarkshistoriens største svindelnummer, udbytteskattesagen.
                  Her udbetalte en kontormedarbejder i Skats afdeling i Høje Taastrup fra 2012
                  til 2015 mindst 12,7 milliarder kroner til udenlandske pengemænd i
                  tilbagebetaling af udbytteskat, som de aldrig havde indbetalt.
                  René Frahm Jørgensen overtog stillingen som underdirektør for skatteafsnittet
                  Betaling og Regnskab i 2013 og fortsatte ind til efteråret 2015, hvor han blev
                  hjemsendt fra Skat, få måneder efter at det enorme svindelnummer var blevet
                  opdaget.
                  Nedskæringer
                  Lige som de øvrige skattemedarbejdere, som foreløbigt har varmet sædet
                  foran kommissionen i Retten i Frederiksberg, forsvarede René Frahm
                  Jørgensen sig ved at henvise til de massive besparelser i Skat.
                  Det gjorde det nemlig svært at fuldføre opgaven som underdirektør for
                  Betaling og Regnskab, der havde den lille udbytteafdeling i Høje Taastrup
                  under sig, forklarede han:
                  - Da jeg startede, var vi i omegnen af 340 mennesker. Da jeg forlader Skat i
                  september 2015 var vi til sammenligning 250.
                  - Det jo altid nemt at være klog på bagkant. Vi fik jo nogle systemer, som gerne
                  skulle gøre tingene nemmere. Men modsat så viste det sig, at der var så
                  mange sygdomme i systemerne, som gjorde, at vi i en periode havde vikarer
                  på timebasis til at lave manuelt arbejde. Det var hård kost, sagde René Frahm
                  Jørgensen.


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                          UNDERSØGELSESKOMMISSIONEN OM SKAT
                          Undersøgelseskommissionen blev nedsat i sommeren 2017.
                          Her fik kommissionen til opgave at undersøge, hvordan
                  Hvem har ansvaret?
                  Som tilhører til dagens afhøring kunne man nemt få det indtryk, at der ikke var
                  specielt meget styr på processerne i Betaling og Regnskab i årene under René
                  Frahm Jørgensen.
                  Blandt andet kunne René Frahm Jørgensen ikke redegøre for, hvem der havde
                  det egentlige ansvar for, at tilbagebetalingen af udbytteskat var korrekt - altså
                  hvem der havde ansvaret for, at kontormedarbejderen Sven Nielsen
                  <https://www.dr.dk/nyheder/penge/sigtet-skattemedarbejder-sad-mutters-
                                           ----- --- ---
                  alene-med-milliardudbetalinger> godkendte de mange refusionsblanketter,
                  som strømmede ind i afdelingen, mens pengene fossede ud - uden at der var
                  tilstrækkelig kontrol.
                  Da en kritisk revisionsrapport i 2013 krævede handling med både bedre
                  kontrol og ansvarsfordeling, blev der aldrig fulgt ordentligt op på den
                  handlingsplan, der blev lagt - hverken af René Frahm Jørgensen eller andre
                  chefer, der var inde over.
                  På spørgsmålet om, hvorvidt han var inde over den proces, lød svaret:
                  - Det erindrer jeg ikke.
                  Opgaver løses ikke
                  Jens Lund Mosbek, der er udpeget som udspørger af kommissionen,
                  fremlagde under afhøringen flere eksempler på mails fra René Frahm
                  Jørgensens medarbejdere, som indikerede, at der var problemer med at leve
                  op til opgaverne i hans afdeling:
                  - Der ligger mange opgaver, som ikke løses i dag, skrev en kontorchef blandt
                  andet i juni 2013 til René Frahm Jørgensen.
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                  Og i en anden mail fra funktionsleder Dorthe Pannerup Madsen, som også er
                  indkaldt til at vidne for undersøgelseskommissionen, lød det:
                  - Jeg er jo også forpligtet til at sikre sikker drift!
                  - Vi var i en hverdag, hvor vi på daværende tidspunkt måtte lave en benhård
                  prioritering af ressourcer. Jeg havde en klar forventning om, at det, vi udførte,
                  var lovligt, sagde René Frahm Jørgensen fra vidneskranken i retslokale 3 på
                  Frederiksberg.
                  Godkendte månedsregnskaber
                  Hver måned skulle René Frahm Jørgensen godkende og indsende et regnskab
                  til blandt andet Skatteministeriets departement og Rigsrevisionen.
                  Samtidig eksploderede Skats udbetalinger af refusion af udbytteskat.
                  Fra 2013 til 2014 steg refusion af udbytteskat fra 2,7 milliarder kroner til 6,1
                  milliarder kroner. Og i den månedlige gennemgang af regnskabet fremgik det
                  blandt andet, at Skat i perioder af 2014 refunderede lige så meget
                  udbytteskat, som statskassens samlet fik ind i udbytteskat.
                  Den voldsomme udvikling i refusion af udbytteskat og de mange problemer
                  med kontrollen fik dog ikke René Frahm Jørgensen til at hejse et flag over for
                  sine ledere.
                  I stedet blev regnskabet hver måned afsluttet med:
                  - Størrelsen mellem indtægter og udgifter findes rimelige.




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                                           Skats udbetalinger til refusion af udbyttes
                  Næsten 100 procent om året. Så meget steg udbetalinger til refusion af udbytteskat

                              9


                              8


                              7


                              6


                              5
                   Mia. kr.




                              4


                              3


                              2


                              1


                              0
                                           2012                                     2013                                   2014


                  *Dækker over udbetalinger frem til den 1. august 2015.


                  Kilde: Advokatundersøgelse om udbytteskattesagen, Bech Bruun.



                  På et tidspunkt i 2014 bad han dog om en forklaring på de voldsomme
                  stigninger i refusionen af udbytteskat. Her fik han at vide, at amerikanske
                  pensionskasser var gået på opkøb i danske aktier.
                  - Tak for det, synes det er fint, hvis vi får de oplysninger med. Det giver en god
                  årsagsforklaring, svarede han sin funktionsleder, inden passussen om
                  amerikanske pensionskasser blev tilføjet det månedlige regnskab.
                  Men opkøbene var i sådan en grad, at de amerikanske pensionskasser i så fald
                  ejede over halvdelen af Novo Nordisk og A. P. Møller - Mærsk - hvis man skulle
                  tro de tusindvis af falske refusionsblanketter, som Skat modtog.
                  Til det spurgte udspørger Jens Lund Mosbek:
                  Overvejede du at spørge nærmere ind til det?
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                  - Nej, sagde René Frahm Jørgensen og understregede, at hverken han eller
                  andre havde mistanke om svindel, før det blev opdaget i sommeren 2015.
                  Bad ikke om dokumentation
                  Til sidst tog formanden for Undersøgelseskommissionen, landsretsdommer
                  Michael Ellehauge, over med en kommentar om, at det ikke virkede til, at René
                  Frahm Jørgensen huskede så meget.
                  Michael Ellehauge spurgte så til, om René Frahm Jørgensen nogensinde bad
                  om at se dokumentation for udbetalingerne af udbytteskat, når regnskabet
                  blev godkendt.
                  - Nej, lød svaret fra René Frahm Jørgensen, som fortalte, at han brugte mellem
                  én og to timer samlet på månedsregnskaberne, der dækkede meget andet
                  end udbytteskat.
                  Ellehauge ville vide, hvorfor underdirektøren ikke brugte mere tid på
                  regnskaberne.
                  - Jeg var omhyggelig, men der var rigtig mange områder i Betaling og
                  Regnskab, der krævede min opmærksomhed, forklarede René Frahm
                  Jørgensen.
                  Havde travlt med Efi
                  At René Frahm Jørgensen havde så relativt dårlig hukommelse om
                  udbytteskatteområdet skyldtes især, at der var andre, meget presserende
                  sager, som hobede sig op, mens han var underdirektør.
                  Det forklarede han, da det blev Frahm Jørgensens bisidder, advokat Mads
                  Krarups, tur til at stille spørgsmål:
                  Hvor meget fyldte udbytteskat i dit arbejde?
                  - Jeg var underdirektør for Betaling & Regnskab. Der var også problemer med
                  Skattekontoen, hvor rentetilskrivninger skulle håndteres manuelt: Og med Efi
                  (dysfunktionelt it-system, red.) og digital motorregistrering (DMR), hvor der
                  nogle gange kunne være 50.000 rykkere på én uge.
https://www.dr.dk/nyheder/penge/tidligere-skattedirektoer-i-skudlinjen-godkendte-maanedsregnskaber-mens-pengene                                6/14
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                  Så at bruge mange ressourcer på udbytteskat var ikke muligt?
                  - Det var ikke en virkelighed for mig, sagde René Frahm Jørgensen.




                       Syv nye styrelser
                       • Den 1. juli 2018 blev det gamle Skat splittet op i syv nye styrelser,
                           som skal varetage Skats hidtidige opgaver.
                       • Styrelserne har egen ledelse og direktør, der får ansvar for det
                           område i skatteforvaltningen, den pågældende styrelse
                           administrerer.
                       • Fem af styrelserne har fokus på hver deres kerneopgave på
                           indtægtssiden af den offentlige sektor:
                       • • Gældsstyrelsen – Inddrivelse af gæld til det offentlige.
                       • • Vurderingsstyrelsen – Offentlig vurdering af ejendomme og
                           grunde.
                       • • Skattestyrelsen– Afregning og kontrol af skatter og afgifter på
                           person, erhvervs- og selskabsområderne.
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                       • • Toldstyrelsen – Afregning og kontrol på toldområdet.
                       • • Motorstyrelsen – Registrering, afgiftsberegning og kontrol af
                           motorkøretøjer i Danmark.
                       • De sidste to styrelser skal varetage en række tværgående opgaver i
                           skatteforvaltningen.
                       • For det første er en række opgaver som HR, regnskab og indkøb
                           samlet i en ny styrelse.
                       • For det andet er drift og vedligeholdelse af it samt behandling af
                           data samlet i en styrelse, der desuden får til opdrag at udvikle og
                           forenkle udvalgte dele af skatteforvaltningen.
                       • • Administrations- og Servicestyrelsen – Varetagelse af
                           fællesfunktioner som HR, bygninger, indkøb, fakturahåndtering og
                           bogføring.
                       • • Udviklings- og Forenklingsstyrelsen – Drift, vedligeholdelse og
                           udvikling af it-systemer, behandling af data samt målrettede
                           udviklings- og forenklingsprojekter på tværs af skatteforvaltningen.
                       • Styrelserne har afdelinger i 26 af landets byer.
                       • Kilde: Rapporten: Fra Én til syv styrelser, Skatteministeriet.

   PENGE LIGE NU



https://www.dr.dk/nyheder/penge/tidligere-skattedirektoer-i-skudlinjen-godkendte-maanedsregnskaber-mens-pengene                                8/14
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       PENGE 15. MAJ KL. 06:54 CASPER SCHRØDER
       KRONER & CORONA: Forestil dig et dybt hul. Det er det, som corona har gjort ved
       dansk økonomi.




       PENGE 14. MAJ KL. 20:45
       Planlægger du sommerferie i udlandet? Her er hvad du skal være opmærksom på


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       PENGE 14. MAJ KL. 16:00
       Rejseplaner? Se, hvor der lige nu er lukket og åbent

   ANDRE LÆSER
   MUSIK 14. MAJ KL. 20:30
   Danmarks Grand Prix-håb hyldes af fans efter vigtig
   prøve. Men bookmakerne tvivler på finaleplads


   FILM OG SERIER I GÅR KL. 10:51
   Von Triers kultserie 'Riget' vender tilbage: Nu løftes
   sløret for stjernespækket rolleliste


   INDLAND I GÅR KL. 10:55
   Skal coronapas være som kontrol af kørekort, eller vil
   folk fristes til at kvitte test og tage chancen?


   POLITIK I GÅR KL. 14:31
   9 il           k lf b                      k ll                     b db
https://www.dr.dk/nyheder/penge/tidligere-skattedirektoer-i-skudlinjen-godkendte-maanedsregnskaber-mens-pengene                              10/14
   9 tiltag skal forebygge seksuelle overgreb mod børn:
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   'Loven har ikke fulgt med tiden'


   SUPERLIGA I GÅR KL. 20:55
   Sønderjyske spiller sig til tops i nedrykningsspillet


   INDLAND 15. MAJ KL. 11:42




   Opgav familiens baronessehus af frygt for bro til nabo:
   'Helt tosset at man nu snakker om en tunnel'
   TOPHISTORIER




   POLITIK I GÅR KL. 20:54
   Ringberg: 'Arktis er og bliver den største attraktion
https://www.dr.dk/nyheder/penge/tidligere-skattedirektoer-i-skudlinjen-godkendte-maanedsregnskaber-mens-pengene                              11/14
   ved Danmark, når man kigger ud ad vinduet i Det
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   Hvide Hus'



   INDLAND I GÅR KL. 18:19                                                  GAMING I GÅR KL. 20:39
   2241 dødsattester afslører: Så mange døde egentlig Spilfirma bekræfter: Kendt figur er transkønnet
   af corona
   SENESTE NYT I GÅR KL. 19:22
   Sommerhusudlejere mister kunder efter
   nye rejsevejledninger



                                                                            UDLAND I GÅR KL. 20:40
                                                                            Budapests grønne borgmester er klar til at fravriste
                                                                            Orbán magten
   SENESTE NYT I GÅR KL. 13:18                                              SENESTE NYT I GÅR KL. 13:46
   Ny rejsevejledning for Portugal: Nu kan                                  USA's udenrigsminister: Palæstinensere
   danske turister besøge hele landet                                       og israelere har ret til at leve i fred




https://www.dr.dk/nyheder/penge/tidligere-skattedirektoer-i-skudlinjen-godkendte-maanedsregnskaber-mens-pengene                              12/14
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   POLITIK I GÅR KL. 14:31
   9 tiltag skal forebygge seksuelle overgreb mod børn:
   'Loven har ikke fulgt med tiden'




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